a i Case 2:08-cv-00033-KS-MTP Bocument1 Filed 02/14/08
((laGz ‘|
l. Lim TEO. $7aTeS DiSTRAET.. Pe Zo he
vanes anpstee! soem tif coe tee eee eee nett anceps nits crate AEN oe aman : > : - .
Fa Th, Seed Wee OTRAS OBIE nm
? 4 Teckson Divs Bev | ne
To

“all

‘Io

cd

3 . acme pe wee, Me te Meee teenie cane
eg oO

aus QL Risen tuey

hiss YP,” DePatT inert 0 kes Wore $n ko

AMER Card, CoReecrioal . BSSOC erin. reel

_b fin seh Bonk ———— re
Mesacok Bank

CaS@ NO, <2 Bev B35 0
42 US 66 1983 Tenhy. rel le

Ps

 CHiSTeP HER EPPS pe “Ubllanlow of Tale [auS one Mt bay

3. Wolenen oF BOA StanOetDh
1, Violation of Coa DeThted £ GMS...
Si Enbez elynenT
4 Flan

GT Enrenpesse OF IMS INE 4 ke

7 Money. bapbensoG. 4

UL Tite Hob, A Taeney- Goethe) (US SSI te _d
Myrick. Tacksea/, Leer AGM:

) 8 Pecruey § 7-9-9 4

| Glan” AebGePeTH, OPT AG A

) 4, OB Stauctiey of Juste —

BalBate. Duyn, Cela T. Cleek Vas @,.

‘Jo. ReFiSal Po Sie Coarse ches. oe

Does [-20.

a oF Pobees § FI- NST. 2. ee.
betetoonrs ee iupteaee

a edt eee eee na entnt an woman og aie al

wa

Plasto FF. ames oH Sree, MTA (PE Ment. oF Ke SPa7e of PSE ee

| Bur T feeseTIy 1S, ) I #- Ser. bony SouT been ps BASSI PFI ‘oT ec

4 pv Table. STa7E.

th Luo'Tumen foCq Yeh OT B i. box Wil AeakSuil, 08, 3995)... LATIF A.

| bs. Glo Bb RTiflow fe
1 BO1T. was olsmigsen, wiTbaar hesabice fut. Fate 72, 6} Ma GST hoo

bes Cotbys belie RikSaasiT 2. aS. 2d. ene

a

Remebles Mich Ge Noe MTB. Plo ses, GSE. No. 302- ey

| Blar WH6 heb. Ble Phugrt? P84 Fe 48.6 1983. Go, Bee. Mig
aueron, 7. The PUSS. Oteazmrectt of Cathe ans 201 cu-3 So
Pes TI Urbsarlon. Tete ate Ne OH OSES gan

4 a Ree nk me eee! .
¥ > * ae a
Case 2:08-cv-00033-KS-MTP ~Bocument1 - Filed 02/14/08 Page 2 of 14

Co mba . 4

CHR SroPHeL E APS ComPpmearea, oe - |
i Ni 5SiSsiPF: DePattmen oF. electrics. Lecart? aI. 7O3 ALTH_ 2.

| Piles iOenr spheer Dee kSav, LB LAS. 37202. 15. S40 UM. TS. LL keel. ee

: oii. Ses soky OPES SO chee tear be, a Seties OF Cita t- Nee J ——
| Poi oR SHeulo Nave peel Bios Ther (00 70 THE Pe TMOES An

lobe wee we eel _.. | wee

| Arnec: CaN votatecrloney/ Aesoc oc’ letronl_ locaxto. oF Y 3 go o feebe es Ee 4
foil

207° @

[
L
3
4
FS Veo Da matres 0 PlariZPEY oe
7
§ Narn, Mrekey land erat) ah 4 BORO, at. te The. Pate oP Pas Sd

Lote Babess 9/'So . becareh e7 723 NATH, fees ter STH Asay, |

bo \Ims 39202 ('S_Sueo_dw Irs oF Fits! aig Suh Sey Cabby |
-/, 737 Mew DE OG of Should. Pave. Meo | Joe

oe Servis Phce a Senses of € :
2 Boar Ther Wed To The sxv¥ees ava demsbes OF. Pleated. ,

+ iNew Mbour of. Shel Mave he er Mood, Thea. ko jo Te biorale at.
M 10a774 Ges of Pah 4 os /

U | Handcok Bank | hoc Tow NOT Fully owe bors I's 1h. GulE PRT fa
(TEAMS. IS. Sued In TS. FF] GND Sibel Ubaly CPASIO Ye. oo
YY |p. Sour. Banik, Aecarlen nor Pally Known Bua 1S Revel, Beals
6 UL Decksoy MS 39202 lbank ABA # OSS 305.930 IS Suxe0. Me. _

1b | 17S of Frcral Gnd Subecuboey CaaS /7y_ SELIM PITA 2 SHES oF Cree

t | iT New pour ol Should p ve kyon KBoaT” TV ier. Leo_ jp The Inte
2b |) Quo BatraleS oF Play Ro a

| Case 2:08-cv-00033-KS-MTP . Bocument1 Filed 02/14/08 Page 3 of 14

oe |. -
pe aot Tie Hood - “Free ey. Cert ea/, MyhICK. Te ck seon/ pe, AG, . Gee. etna
- ft Heote Per PaHTBG, ~bacertay 7 Hot. woe STaTe.. ‘Steeera.

sas camer eae

- 1 Sapestinty Covesiry, > Sr t “da
7 oR Soula Have kien (phos

sone ean tt

a 3 STLEET, Jaeleson - MS. 3% o/ 1s S200 jy Het. ofFitivlal ana sebecilsaey
Di ale ry. Sern Preorder fe les oF eentrs. She hve ¢&ou7- oh Sb Meisld a
I | fave ken abour THI Lebo ro T¥ONTULES Ani O Dexera Ope. oF Bla la 7lEi
Mi ESE PRO COEF

pce nace fife eae
i.

| Plalnr i 4 Ask a. JR anyreo: FATES, OSTLMCT~ . leek. VSS €.- ee

PL samenecs. 70 U Aearen. ODS. Brio lebyf The tobe !
NM GonPlelr Be TELE GAO Te. tay FEO SvarCS frees bel. Stix / 4 a

fe 4 TH. Sgm€_ Pak Sage fo. 28 abe Ce SUS: C4 d2. 2 tea? CLE. us Aobes - _
/e | : Be

tee : : lyn ec ce eee amp nage oe dnl cinerea remit tote toe me cient

- 7 | DeFententr An SOUTH Fuh daca Pion te Dac ksour. PSs WPL. 39202:

co Bg Bayh ts NT KN. ane) rx. Fall. POOLE. 4S ~aShee. 22. BE. LaSeeeho oO
- LT ano Fee. THe. 72, Be SCL Thtek pig ti taenedame snare a4 coe

uy bs es [20 Reh nants ond Addeesses ake uarclerte need
ttl ar M's Mime well fe H00e0 as They Beton ENON, a on

lacie sored eee aoe sea cain

pent een nematic eR anes ae vice ecobites ma Titian iat og Menaetote

4 oe Fikay iT “Staremen™ ee

Mt Oehinbaotrs 5 pave. No deFede fa wile a Good fue lebal. aon Le ee

% _ FacTuuatl Ba51'S CX ' Te Pp lade GAS RATING His. nsx /tattonat. h Ch.
7 L RP a DAY, Teal. on. 44. S7a7e. late, LP Late < a0 Bu yo

Case 2:08-cv-00033-KS-MTP

Document 1 Filed 02/14/08 Page 4 of 14

 ConPlaiaT

7 oF /Y

: Sebo ‘Starner. oe. . a. .
The onl ar Syare clades few wich ReleF Can. Be CUE NYE rf oe

Thao. SYremenr - Be be

a Derenouns Have. Mieely. Pleo Plapmntt THe later 7% Sombly et oe
|The PrarldgToney, Atour'sons oF | USSISS/ PELs Teer Clan. Br FS. | od

Coby Feo jy MHiss/'s8/ Pe Coe, Brinorered_§ Wa He~ 1 °F SCF 101 Place WA a

oo in

SS a a

peheovoanys hiteeched @|
Bs RG and AelifeBes |

he rar 5 ReTb by THE

| OoPeisrs. feSSeS NO nviad

1s Bolte kePT Fee Co nb by)

as peralled wv The rrabatacy ?uSl55/ PU rea” _Clailgs.. por, _ kee tniby
\ hy Plon TH law ibcnny
 lebal SS Tance (MoGhan Tr
\L Fehrs 7? File, The fot af
lal Reawitmen?S, Beso Pee

> .

FTF

blank G0 Such 2AXZ

. ay

1 wow Sue Wwe patlen's7tay'vt. Ate hap, oo

some Serene -

Yio wer LIU AY Norice REQ red

JAS QVCO Then, Pe, US. PRE, Lnate. Co
rkorG/, ie Dikecr flee flor MEDD
A eTTeA. a fare Plapyp lt PS Serie.

fea SPT ta 4.

Wary oned Fo HE Plsbord EE Gav. Wolaree.
(Hae face They Gee Gt. foc Damqeges

TH Se eT

ce

Jryx/ove |
els he c hetly 6 Gerace. - Our: fe.

x

i
stb bos

Lay Neteb Flom Sia aualet. Labittyd

Uf enQ/ok Oarmatoes They OG Saeco Ay The OFA oxo Swpractiedy a
_w| GehBIy,. oe fe vo pe
Ut ee cd arene nn —4
a joe . ot

Case 2:08-cv-00033-KS-MTP

Can aT
SoA. Le

[

pee ee rath

fe etter oe —

a 3) Oana Ge win Aepliieards

G

ag

Seven
to | OPS 5 Conn IT #2... Ag

ot hens Fee bah e. aw. Kee >

tee eee ge weet oo ee cee near eens ot ee

mS OL OY ag'sS/O A. chic Clg $ ED Lely

bf Pe JRE Plater Wtf « an nip. be Feber “ed
CS e... oo, co net ee eenereerntnunpar .

“TU. SDaTEEAE . . ~ nad

hocument1 Filed 02/14/08 - Page5of14 ©

n/ Th Sa7eHe ew

fa NT, SPePemer a4
6 ‘ These. MGITHAS Sev — Foe A TRE, Ct afr Gee por. vhae Boke by.
My THe, MEU cake S74 oF PUT Pies ince ne ie ad
BL Tet Sareea
SS 1 | Plideardpe_bete By. Seafitally Pics Thal MeGerdens of The Cae”
SB iaee rere quo be i$ Mor Gully of 8K Cotte araby. HEAL pce
Ie og bt Plemap ve Comber IW Ay ITN wilh The Cvertrs. oblasned,
_ Bo . _Ekvey#/ DEPORT. .
fe a p la nie 5 MeGeol Dra ate FT aal Gro [ot AWS. ars L
Wo “| Fattsteab/e, by. PRINS, PALES oh entitles Fat whorr LE. Dee Det .
Uys Weble ano tester le, 8 Suclt bela, Mitec Vey bolts) SAPS Alb,
te eaqges, Berke, Causal Lak ve 0" ORCIGDTE as on
. as) ar pil ly TMS , PONT S s bo Nor ger. Aw G00 Felt on. Aeeace ane
tb, The existeny be quo /5| “ng fo
06.4 $Perla/ Good Fay BePens Ce

Case 2:08-cv-00033-KS-MTP

Plier 1S Seelve, Der pide is
| PeGtan, ove They olor,

peteaed Pliystesl Pale +

yocument 1 Filed 02/14/08 | Page 6 of 14

o sen es yo , Pld phe CeO 4. .

| ,2aePataBle Haar, Oorendynrs Catt our Remeay fletham TO
| phsThacr” sus 7e ert Catfey on7 oTet. eC! BTS. Thar Bleck,

We wlth eu) parhes_aw ok. Gully oF whlorttifia/ aot FRIES, of

| iwemares Flam Tile Cour, By\peice dll Sioa TiS 1. el A Nalar00 tuspperts

[I Aben7s a7 A Times Chor babced. of, Berto py Bab. 9 Kabk, we

yore radlike e, Reckless A's belpae y AHO. del Batare. I NONFOCRN, paJutlo 4
en.

*

Fires | SapemenZ ws co oF

i pparrbealy Laratees, ASSES, acto OP: Lexrdoay Po. PhasnrlPt= Legs Cageo

‘By | _ OF FKof fais) Peacrhds y CHT ELS oF OLE GATS , Plhabrnlee Msg,

| Iomales avo Dane Ges. /S Tee. Kir [7 oF The OFF tel Cov ecnnciy Alloy

Cs at Paalees BY Tt BMatsle ye. DePenat25, FORTHE r00ke. pee trteayy

fs Ge} | [Ty oF oei/biare Mase OF Weed GoVtnrae7 fort aD. a
the / NO. Pevolba tal eH lod FAO APLOS elec 7 eed & The.

ie CT Teen ete ee open

ddoubr,” ee ye 4

lof? layin

Ls 7 oF IY 4 { ede cipecee lin wictnunem nity tye

is p47 To fhoceey us

il
wetiab omnis vee

This | CaS e belt, hy pad

ESSE MAS

Case 2:08-cv-00033-KS-MTP
Se vente

Plesserie As. nnidel amninien

Pocument1 Filed 02/14/08 Page 7 of 14

en en meee cE MRR oe emcee Bt

eer __greremen ee 4

enT Aanger oF § casas Phy Sieell LAT

ono Kas All Ready anioek b

yrre ONE SIP, .

ino w¥€. Pare fiom THT K 4S TRenerh SRE

yon AGUS, C. OS

7 8 WhisTle Blom et C4SC on. Piles

LS Merally. $B Pp
A Aday.. nT & CngFnnT bum Lely ,
|| ce, [00 Pafle Pe bast .
Ths. SHR. fa\Diter,. SheePivly, hla, TY Gees 40. LOT: Boon J Siow ge i i
[ven Ctkecrione/ ofFaas Moth.

Te Tabacoo |

ur. GINO. 92. _ S000 kee aT. LBdl. Dives, L

- 6. oF Ldeyti feo Lolhas Erie sepeleo iy (9p fMonrduleniZ nate
FT | Peasenal bent Fieas ake edessakey 410 helevenr jn ThE coutes oF | cee
lo i LrNar len ONO. wall Be _STapeo Nn PlebbnGs ate. TBC - Cour Fillea. p Meare-I5,
He NOG CLE TS, 1 he Such (flere fetrez qs may be . Atop ate under: _
oo Iv { THe [LOMO T aC. Gy ad CLS 300 67 Seg @ Ncbacrp Petsofa
ae a i Mearistens (E) ReDacren_ Se 4Tve ZaPeetna7 Hen NO BAT
Go . ,
penpals i
ne oe ee G J Enrechee #F [N5. Malis) ARE ResPoucele fae Petsona! NTU eS
ff  PlawrtFF Mave Sasta cect, Phil? Hare. ber Pleced_ond YF FeAnT.
I hina of Pate ils. Pet lathe, Herd aces Shce Taly 10, 9.002
ff | Dow Pla tH Mas. CHESS hexGHy toy [bas pbepable. Gab. et TReaTalale 4
© lem rk COP ty Stub 2 oF Ws sromees,, Hye bevels oF Show perf Ske.
UM filom Tabacco, ee. Levels of Gotha broxibe 104 bch 2, by Gen. Pebid
tt Geo Nhkoreen, 19 ENDO Olhegy FHC 23 As ae

W. ab SPOKE GS They...

pee.
bemlK 7 TH Th Ott A. a2. To howe

S 910. Srekley. Fe, Rober. ad feck Di. .

 Exclsily Fe Gr Evret Pty

Oo Ewree Page bas _ |

pe Of 128 JNC.

Comba tT
LF

ll sof Protmers FR a Pott

| ow Suki ano Oar 7974
| deews Fen : ABT ae TMT aS. Phacqes« _ BCA pbnhe.
HN Aqioss Wolax wa. hehe ALT ,
i OT, Entecbekce ‘Suflies £10
| S@wes ar90 inbe Bro vate
( WWese. Neaagl acy lans ‘wa

LAA. fle pit FF Pas. Ben Lecome
YO 7en 7 Kcanloore Mee dy.

 CHESTOPRF EL: EPPS”
{si s/'0e Dearne? oF Col
L DPC OertS , Wolare. Pao"

| outers exo BelG flo Se Bites Fo The baw Lklety . THe. ACA Bag

Ly btan f..KOT
\S7eze ao Obes? inore 4 1
nb doe Js tz ho Je.

Which 's MoPecred andes... 92

Case 2:08-cv-00033-KS-MTP Document 1

Filéd 02/14/08. Page 8 of 14

| A CXclus'Le Quztacr ve TW PISS'SS bb! DePrarmenir oF CaedeeTeontss

7 aT Tite exPewe oF, Plants Nea lTH je.

re lac ON Sire We, Bcd STeMohag

onal RI@hTS, Mot Wola rce

Prose _Jhteal coe
wed Navilohit Saraes  ChéatTe, ~ 4a :

potoel TKS ano Bif poboc|

arly fot

Ce feu foe, (toi 72 Thea a on
Veéal Beer hoe es Pe keeh Cle Se. Beef,
Cxs her nll P10KGf (lob sera... AF (Lae bazel My
Wr IS Syea/\cal Class 3 pro Neha Vores

Priv bere bsohi bre O67; CA Baa)

Shee Mh |

Mec Trams ano PGE NCGer ccnecrdava) SSC say . :
COP F/orcof Rohr yo Have GOCE 70 THe oe

| bisterathons  SPa7NG They ta Ol Reaiphener

q law tyfitany J's ove, Te duprare Sal BSG Sanat. Ate brie, & a.
Fat. Ars Th Wer CoM?” Poafee tari ba Frenlt Mt SE. OF. 74 C. fate

Jo hkeblete_1 +

|

THe pana lebvaf BSAC UNE CGB 77,

Iho” Bleck The Cnblanas ol

wy "yf Show This verky Sn Ky,

Tio  Ghe Glo er
[evens be owt: 9 shlabow.

dFo DOT: _

BE al OME BleecF len On PML RSE co
TES Defector. wee
y OM oftbas cde oe
fi, ynleE Get al. oTHel. * dane OStotey.
The bebeal- pet, foleoutes By These } Soe
a Kbbhy Meal. Fish tPA, wer Wie.

gt
ql

, Case. 2:08-cv-00033-KS-MTP Bocument1 ~ Filed 02/14/08 . Page 9 of 14 3

. bh e STOPPER £7 PS> eam ices pice ce a eA ene nee ROR an a te ne pg a nem ee oe steel panacea nt
Ky mM; S555. Z Pr DP uT pen. OF. | Concec eter Sy Rin Che Capt” cafestec rane, A824!9y dont,

Gr Eret'$e oF IMS Int, paid Sr SouTH Benk RePeribactT,. Au

i Rrisieare iv, Cn e2elnenT oF tmares treniey, PRand. tio Crokity
a ula unto Wh las7r! Ee have: Moen» Fito Betagf Bak ACC Cear¥7s Ths gh fy.

3 Ponty. as Bee EXPE TCO Gr10 eT Mart, Ths 4 BENG Lowes.
iu TH Geo Ts OF bb los op ~ Mk 00 074. TILK. Fea LOL ORAREIS. 0
_Bikomt Pulnlyses, Joh Tes fpoce ~e Yee darares Glial

GN eakly THT of  Qlouz- | g G, bo, 060 Caller - LGM CEAY Med.
Phawrteh Fils ths ¢ Qlady noe. The UW Blows lags

areal

Yar At Phy. GeO be Aly yp Lyechtobe. En tel frowtle 2G Ouairt
vest les wlll Be 9h. 72 Bear. PME. COM tL CMaGES,

ly fesene., PET, BG, emete pe Cory. Peau iy Pasa

ire _Ca8e 7? fore
i bebe Chinas PGT. As COW Fo Tae s suftlea CO 7 Bay < “helee

oF Peete, Comer psig, GPE Bene Be. elit eld]

Contderion — aAo do. Lanabt ~~ _Mevbiy y

ties oe a

oF Opt OF suse.

LThds. Peete vas 9. ofsf ec

a at i eae eae cone a seep tee nit ne ate! a

(ath Davin Chetutr Cldtk os Carre, OP Wbaeir keFeseo

oo prt

. ip Give. Cearifreo- Cohe oF PES, PaPRS po FBS Chadha,

4 Portes Foe OSS rlsse/,, SHE aoe Const Reh. Porites. :

Ti 70 Beldito 1 Fou. plow, 4 roanths and. peo [ible abilbdtald |

_ prmien by fli e TBe CC, @ De evbiyT sw Chdylra) Cae,
prre 4 Potts. ge jo Ve bi Chl” Pray iib, a7 STDIN oe

he Ola TOK The Te | taser Lr let _

Cmble AAT

bof we |

|
i
|
i

jolt.
- OR dl oo blttoe OF 3
Bl berenas Uibhxb” BY Fenoedes

Alaa FF Kes. SasPar vt o_ “are
Acros. of fe tbarTS, It

Hee --=

=F 4s SV

Dnt Pace, bed oF. sheen Heute

Secon |

_ _Lielarrer. OF Vue Le
Defeonas 2. er Fallow Gay

no Weal Pra Pesceouces
Pou ¢ 4

Dekoninrs aprons ame Fen

| AiKS7” Aareamer,— FAO

quo Blcle wT Attess |

—Fikyhh
Enbe

HL PST ab) fO By 9006 and»

Case 2:08-Cv-00033-KS-MTP Document 1

| Cause of AcTIen

A a/

| Mrvin'srtari ve Remedy Mabey

ceed oe

volarion of Con $77’ Taronel: Kies OF, A LOE,

eTHeas

BP Deros jake bled .

Filed 02/14/08 Page 10 of 14

I WIae Ee. oe coe ane nee - cert
veyes ann Darna toes Lo To Te. Meee, he wFeall
Caleb eas PMCS, TOT Peubs, CHES Reba, yes. __

ir (oblenS ano Fath VStre fee Save of Pye pardiles,

Cougse oF pera! oe

5 ON Strobe the S2OdE. Bear et wee

Wea feuse of Berton So cenee

| Brratlae hhtecHHarcal psc Gen San S. S, oe.

0s tanioen, Thole. BM barlens ON, “Spoke bye,
Bees re CLG fICCESS- Fe The fate 4 A year

foo

anse oF Ber.

Jakes.
ae fo
libro aly To Phir.

THe. 3

Gee
yo Be Cougg— SYSTEC I,

Cause oF BcrTepl
Dela enyT

OF aS Flom J TRE Pas I Hee

| Sy Wy 5 r bee. Brrenta 7? Cute. a7 a

| Te Bef OM SPTehs Giver Fe

ste ee o natant - - a

‘Case 2:08-cv-00033-KS-MTP —Document1 Filed 02/14/08 Page 11 of 14

WEI
ot | yl Cause Of Berl

3 RePetanrs ORLY IT: Fhpad ht Mealy. pxtoblshe det Arcos. _—_

4h Fe OR IWMGTE  anO_ Seber, Fncl2s Mor Aa, “Mle. whens - my ee
cee 5 shoald. Be ond “se. Mie. hese Fanos Fe uspulila, 2ee § MP EEES.
pe ete atte chef copes sapien pennant en wd vate oe cece ~ - “— enact

ee preg. Launbeklatéy ee

a ee
_ 7. [Derestirs. Tike... ele _ krone. ano Lend ee, Lo Tih 2 Crit Ark
. iby Glow... L0H Ono | TP rmrey. 15. 4s. fae. Meéedl. f“ulfes ‘es

Mane ne Taxes 18 ete. Pole 00 The

“ 2 soem varere ei .

(Be . er Caa$e OF AP ae ee : a

stb bi ne tee sit a te pe i

a DePenbayTs, Ani ae ico ame Ptesmaeeel Tile

o Sills oF rhe Meet wG oF FlaligF Thar fend Fe bss pasate! €5,

ee ee ee sta eel ate

i atl Lon ache ef pe ie ean

ead

we sent cones sacar annan enema nar fe en nen penaentnantna ono sungmi aa “ae Soom -

oe oy Ve te eae ae a rigpe Cange : OF 4 cP fc OM 3 oe

a el ee AT here r7' on of Jusyr ce cea :
Vt Owens | IN ol lke ven [24 AG BbyST SEE bSrincree

TR Susrke lo I Le Pe Tie Vr Tales. a0. Pilta ee5O0 lhiades,

Yo oe Pere Cas se ee oF Beflont ane ea tre retin agitate gh ooh to ata tam ne
WS MS we > Give. Geribeo. GPE. oF fe £7 97-f WA7. i
| peer Fale 72 Palkien Dies volt chiniel bier [taht
7 | 96 Tk Den aloes xt Inch 3 OF Plate

Li te i. devine ect pe .

Carn Marg

PE PIG |

CODA. IN pn SSSYP,' Co ej

[PabriFF ReQuesto wvete. ¢
[lrasbase re Meter toro The have Libberky rer Serbily, Alan MBR TO
Pho Se bree 70 fo [OS Ovens
WARPS) THe iSO, DebutApe

The FiltsTonte Nev@t_ Gone

~ ae avis

i wrare Keno his ARP Com
i | thle fe Or0€S Gorn TH Le

LUTaGPION Gs TR LUST, 9

MSuch Ublarbns ano rey Dek.
[he Pati? Ms. sureeces aM
[|e wes TBS Comer pre
| Fa we// Bcy eI, - Pa he
cd nyse al funy Kren A
[feeasy Fon Ree.

| Lroleriens They. Car Bury | Lea)

Case 2:08-cv-00033-KS-MTP Dpcument 1

. porns! serve ve
AauarieP ‘fave Bex berted.
bH-G-1 er 509... The FOS oto CRS

enw'e? Gre 7210 Fe fim They Lait ki SP, :

Hoffse. There ¢s Ke LAAT ee. CSC Nein Bee Sheen De THE _ezltad Mw. oo
lbweare yo Plove be F:jto sy
i 18 LATE, hela ase THe
lle Be anfkre. fern 94a7
| THe. ‘ranon | Chose 7 Hosea

Filed 02/14/08 Page 12 of 14

ker CONES.

co eng eee ete eee

hs. Rohr Ble, BTR? Chilo 9S

Le llanb Ae. hesetch,

Ptah Flea Tee
WTF Cokkecione s. Have tw Flite G00 |
Sack tener . 4 besPuce,, DT. The Trine. 4. oe

v7 te. iB. Denied | a CAINE of 7. i ovine
oF LE (Ste _Mibaare Pare bak §

a1) ww. AKT aS Pry, TH. bay Filo

We Pp tossess bas 2 Fo SFa rare ADs

4. Karten

ey FiigF ONG. anO will! Khete Teac kelp a
WIT, The Secon PRE 15 tt The Sane

ZO Pil Ant ISS 4 EX ren: bar /$_

by fy Lothy loz WU Uy Fe. ThoSans. OF 1 .
0 $1 THOME tell. _OnPearn Discoveted oem,
Vo ik Sup ote! Lith, sRREPaRG B/E der, Meer .
ete Now, Yl, Cagse LoS SHE, fred HL
Ab TWh 1 Beer beh Bay 1 Cats a0 ao

Le Geo | ptavctlon ts Paar oe Thee

i So 4
Case 2:08-cv-00033-KS-MTP Dpocumenti1 . Filed 02/14/08 Page 13 of 14

caine cpetper sg et ate mb a ann Sine tenet eee Te me nen cme batt oe ne pane Ee See cca ene Rte an en one,

Se eet Meyer | Poe. _ hele ee a Le
“Pls url... SBmes be Yeh play Fea ke 4s SPO
ak Pet. PbS sal 1 eo Chey laden. OL, / Oo, ogo. fe one. Llllert balats.). FRE
Aral. Di Plain ee fecn wa nen

fa lateghy we es partners cect aie tee ot cocenecen ae nos enti ee ee egg cee ectdem pte aiteen oe am yee ya eae cree cee abet ee fama oe ee To ae cata ee ences Co mec

ud. Pe blazin OF S747€. tans on Straksltiay. tess wetcT we. RANE RE 4g
Glatt, DU) Srekejatls. Hot. fiaoly teas, of irreres BE SPPO, |
Ne role. Smibedi Be Penden by oF Fleas, ok mares bx bowsibtb LUCAS.

GMO FM OPAL CO. [a te 53 Ae... Henke , Bnd Pye Le Fea Seal Feds at F Pty.

bt ie cone mee LE eg A a pine te ete aA pet oem ep a nn ai tne so game nae apenas Ett a ate — ce Se eit tare ad

oe 3 Foe Ufolgr jaa OF BEB Fen I Sucgiite. pelieF be Glare». Wt KA, oe

LL aban s 8 heat on SPaky iby ‘Mees, ze. ours 1 BAIS FO Lave by Many , Ass.
Lebel rar Mle C025, ano _4 | letoee.. 4 GA. fer P00C FP? (Cory wei FP Te.

: pense PE LAI be Ge very Beds. 7 ALES ae, AT uf hale baby Be.

| Cn be lee 0 Have acts ro A Lave books, 57 akiets,..Loldales HE. _
Ml ahh TUS Gn HL furs. wepea, The BEL [MOS SESS. Blk bias. __.

fi Wi NewrBa Horr The Dey\ J They, File. Canfas. Aro. L200 € cooly Xk

Jo bay Pure of Velrazd gl A Lace RATS fe 16710, gi tnares..

A Glen Sime Reber Te Gurlelea rx yt Settle, 1% Ania. Cate.

with Leman, aro. Rabie Pryeo Foe SPP Re, ead Fly Ceugeh

nd ee om 2 a canyeaii

4 foe. Chathes oF - €lnbcze/mey LT. Flaul. aid Porky fect ii faba PLE
_ bide GM Peters ah, peschdieh urn The. whilst Sowres. Aten
| BAO @ ox Shae pbb Weil Pie. GF Lio rite Che sekir ee on
4. Bead 70 Bab al. Peas, of eeily pnapes. Ketowil by UGE PAOOC..
Maeren. Dok 208 TAT INT: S00 hiptvlear bers LM. Maser co

ON WH Saber of Fhe Th BiloaiT Be. Mast, Bob Papo coe
be Pate Fea SbF Ahn, Boe Pie Ge. DO |

pet ‘ al:
eee oo mane sit at

pee

Dd, foe Uilplatlon’ of PHT
7 Cee. ees Care

. ft: Beeeuse Debeners he Ce ht
| volar? MS LETS. elo P

L. sa HO hans ono 2

Nhe CENT law, qereo
|| liam nor Prtenrs; Publoas
[POF Whorbahal onl Tokens Cock

MAVon ) ken, Paniloe Oaraies eee me Teen te pannins f 4 cece

pio BA hetral Fees...

‘|| AU yhe WSove. 5 Thue
eS Thue.

| Sef FOAM nd Padbet,|

| Pene/y Pinu Pa bE

Case 2:08-cv-00033-KS-MTP Dpcument 1° Filed 02/14/08 — Page 14 of 14

Ma Gale CMON AS.

bp Olible Lous 70 Paid. by. BPM aT:

, LSTA carbon OF suspic. BAe. Brel.
Seo COVE DF 6a TS 66 Para'ShtO By
Mor Be fBqle Fh Sef Pht, eet Pobre, oe
1 a Lary 2&0 Fo The. Laser? AF et.
fea CHES, 4a. Pla? 18 neT Gally oF fe.
Chea. Coal! aT ohy neal Gexce | oR BFF mre VMEP thre. Comedia 4.
wth eves Conall. pro

Lalit

ause. XP Cole riP 5 eer by Bid Fe Fe 800 Have oo

Lae TOPd, Fedlkeey. Leck-hess A SCG LA. Candi. 4
MATE. 0d ye eu (ores QW GRE Sree ty
CF. Phdor. JE. OS #29 003, 6290 Crue ey

we eee ee ss sae ana
4

1, Pla paI NF also fk. Foe - pbolrdove) £/0,0e Geo, OOO fe

Vlapurith 7 Buf hes bab. Gel? Save

4 Le (Mass TO Te. fav. Ld btak yy. Late frets, PIES, Polleles,,
T yokes 0. LBral Foteag Akin. KE. extet/one. sy. we Th, nN,

Serra, 7 oT Thode. Lok Ott Sach oe

ao anal ane sieves eer ene

YO - CohAC- UA. Tet VO ye abit TOY. —

a! __ . eo
ad =
anes ee samen been ne

